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     Hamira Chechi
 5

 6               IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                       EASTERN DISTRICT OF CALIFORNIA
 8

 9

10   UNITED STATES OF AMERICA,     )            2:14-cr-00169-MCE-4
                                   )
11        PLAINTIFF,               )
                                   )            STIPULATION IN
12        v.                       )            SUPPORT OF ORDER
                                   )            VACATING THE CURENTLY SET
13   MOHAMMAD RIAZ KHAN, et al.,   )            STATUS CONFRENCE DATE OF
                                   )            JUNE 18, 2015 AND
14                                 )            RESETTING THAT DATE TO
          DEFENDANTS.              )            AUGUST 6, 2015 AS TO
15   ______________________________)            DEFENDANT HAMIRA CHECHI ONLY
16                               STATEMENT OF FACTS
17
     1.    By previous order, this matter was set for status on June 18,
18
     2015, as to Defendant Hamira Chechi only.
19
     2.    By this stipulation, defendants now move to continue the status
20
     conference until August 6, 2015, and to exclude time between June 18,
21
     2015, and August 6, 2015, under Local Code T4.
22

23   3.    The parties agree and stipulate, and request that the Court find

24   the following:

25         a)    The   government   has   represented   that   the   discovery
26         associated with this case includes business records from
27
           the California Employment Development, reports of witness
28
     ______________________________________
     Stipulation To Continue Status
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 1         interviews,        and   Grand    Jury     records.       In     addition,     the

 2         related     case    includes      a    voluminous      amount      of     business
 3
           records and seized search warrant evidence that is relevant
 4
           to this case. Discovery has been either produced directly
 5
           to counsel or made available for inspection and copying. In
 6
           addition, most of the persons involved in this case either
 7
           as defendants or as potential witnesses are likely be in
 8
           need the assistance of an interpreter in discussing these
 9

10         items    with   counsel.     In   order    to     allow    the    attorneys     to

11         appropriately identify and interview witnesses, as well as

12         discuss the ramifications of different pieces of evidence

13         as they may relate to the client’s particular case. This
14
           process      has     a     natural       tendency         to     limit      direct
15
           communication and requires extra care that the rights of
16
           such persons are scrupulously safeguarded while at the same
17
           time providing each lawyer with an opportunity adequately
18
           investigate the matter such witnesses may bring to the case
19
           and through all of this careful process thread a careful
20

21         line    between     disclosure    to     help    the   client     and     possible

22         over reaching in the area where the witness himself could

23         has the possibility of making incriminating statements.

24         b)      Counsel for defendant Hamira Chechi desire additional
25
           time      review     the     discovery          and    conduct          additional
26
           investigation.
27

28
     ______________________________________
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 1         c)      Counsel      for    defendant        Hamira       Chechi    believes          that

 2         failure to grant the above-requested continuance would deny
 3
           counsel       the     reasonable        time     necessary          for    effective
 4
           preparation,         taking      into      account     the    exercise          of     due
 5
           diligence.
 6
           d) The government does not object to the continuance.
 7
           e) Based on the above-stated findings, the ends of justice
 8
           served    by    continuing       the    case    as    requested       outweigh         the
 9

10         interest of the public and the defendant in a trial within

11         the original date prescribed by the Speedy Trial Act.

12         f) For the purpose of computing time under the Speedy Trial

13         Act, 18 U.S.C. § 3161, et seq., within which trial must
14
           commence, the time period of June 18, 2015 to August 6,
15
           2015,     inclusive,        is      deemed     excludable         pursuant       to     18
16
           U.S.C.§    3161(h)(7)(A),            B(iv)    [Local       Code    T4]    because       it
17
           results       from    a     continuance        granted       by     the    Court        at
18
           defendants’         request    on    the     basis   of    the     Court’s      finding
19
           that    the    ends    of     justice      served     by    taking       such    action
20

21         outweigh the best interest of the public and the defendant

22         in a speedy trial.

23   ///

24   ///
25
     ///
26
     ///
27
     ///
28
     ______________________________________
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 1   4.    Nothing in this stipulation and order shall preclude a finding

 2   that other provisions of the Speedy Trial Act dictate that additional
 3
     time periods are excludable from the period within which a trial must
 4
     commence
 5

 6
                                 IT IS SO STIPULATED.
 7
     Dated: June 15, 2015                        BENJAMIN B. WAGNER
 8                                               United States Attorney
 9

10                                               /s/ JARED C. DOLAN_______
                                                 JARED C. DOLAN
11                                               Assistant United States Attorney

12
     Dated: June 15, 2015                        /s/ Michael Aye_______
13                                               MICHAEL AYE
                                                 Counsel for Defendant
14
                                                 HAMIRA CHECHI
15
                                         ORDER
16

17         IT IS SO ORDERED.

18   Dated:     June 17, 2015
19

20

21

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23

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28
     ______________________________________
     Stipulation To Continue Status
     Findings and Order
                                              - 4 -
